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 7 Attorneys for Defendant,
     CAPITAL ONE BANK (USA), N.A.,
 8 erroneously sued as
     Capital One, National Association
 9

10
                            UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12

13
                                                 Case No.
14
     CHARLES EICHER,
                          Plaintiff.             NOTICE OF REMOVAL OF ACTION
15                                               TO THE UNITED STATES DISTRICT
16
            v.                                   COURT FOR THE CENTRAL
                                                 DISTRICT OF CALIFORNIA UNDER
17
     CAPITAL ONE, NATIONAL                       28 U.S.C. § 1441(a), 28 U.S.C. §1331
     ASSOCIATION,
                                                 (FEDERAL QUESTION) and 28 U.S.C. §
18                        Defendant.             1367(a) (SUPPLEMENTAL
19
                                                 JURISDICTION)

20
                                                 (Filed concurrently with: (1) Civil Case
21                                               Cover Sheet; and (2) Notice of Interested
                                                 Parties)
22

23                                               Complaint Filed: November 26, 2014
24

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       NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
          DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 and 28 U.S.C. § 1367(a)
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                           1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                           2 THE CENTRAL DISTRICT OF CALIFORNIA:

                           3         PLEASE TAKE NOTICE THAT defendant Capital One Bank (USA), N.A.
                           4 (“Capital One”), erroneously sued as “Capital One, National Association,” hereby

                           5 invokes this Court’s jurisdiction under the provisions of 28 U.S.C. § 1441(a), 28

                           6 U.S.C. § 1331 and 28 U.S.C. § 1367(a), and removes this action from state court to

                           7 federal court pursuant to 28 U.S.C. § 1446(b).

                           8 A.      JURISDICTION
                           9         1.      Capital One specifically alleges that this Court has federal question
                          10 jurisdiction over this action pursuant to 28 U.S.C. §§ 1441(a) and § 1331 because

                          11 Plaintiff Charles Eicher (“Plaintiff”) alleges a cause of action arising under the federal

                          12 Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, which is a law of

                          13 the United States. Further, the Court has supplemental jurisdiction over the state law
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                          14 causes of action alleged in the Complaint pursuant to 28 U.S.C. § 1367(a).

                          15 B.      STATEMENT OF THE CASE
                          16         2.      On November 26, 2014, Plaintiff filed a Complaint in the Superior Court
                          17 of the State of California for the County of Riverside, designated as Case Number RIC

                          18 1411379 (the “Action”). Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of

                          19 all process, pleadings and orders served upon Capital One in this case is attached

                          20 hereto as Exhibit A.

                          21         3.      Plaintiff asserts two causes of action in his Complaint against Capital
                          22 One. Those causes of action include: (1) violations of the California Rosenthal Fair

                          23 Debt Collection Practices Act (“Rosenthal Act”), Cal. Civ. Code § 1788, et seq.; and

                          24 (2) violations of the TCPA, 47 U.S.C. § 227.

                          25 C.      BASIS FOR REMOVAL
                          26         4.      This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1331
                          27 because Plaintiff alleges a TCPA cause of action, which is a law of the United States.

                          28         5.      Specifically, Plaintiff’s Complaint alleges that Capital One has violated
                                                                               1
                                  NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                     DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 and 28 U.S.C. § 1367(a)
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                           1 the federal TCPA by using an “automatic telephone dialing system” to telephone

                           2 Plaintiff without his consent. See Ex. A, Complaint, ¶¶ 11-14, 18. Therefore,

                           3 adjudication of Plaintiff’s Complaint requires an analysis and construction of federal

                           4 law. Thus, this Action is one which may be removed to this Court by Capital One

                           5 pursuant to 28 U.S.C. § 1441(a) and § 1331 because this Court would have had

                           6 original jurisdiction founded on Plaintiff’s claims arising under the TCPA.

                           7         6.      Additionally, this Court has supplemental jurisdiction over the remaining
                           8 state law claim, because it “form[s] part of the same case or controversy.” 28 U.S.C.

                           9 § 1367(a). A state claim is part of the same case or controversy if it shares a

                          10 “common nucleus of operative fact” with the federal claim, and if they would

                          11 normally be tried together. See, e.g., Trustees of the Constr. Indus. & Laborers

                          12 Health & Welfare Trust v. Desert Valley Landscape Maint., Inc., 333 F. 3d 923, 925

                          13 (9th Cir. 2003). The facts related to Plaintiff’s state law claim are intertwined with
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                          14 and based upon his allegations of wrongdoing under the federal claim arising under

                          15 the TCPA. Specifically, like Plaintiff’s claims arising under the TCPA, the state law

                          16 cause of action involves Plaintiff’s allegation that Capital One made debt collection

                          17 calls to Plaintiff. The Court should therefore extend supplemental jurisdiction over

                          18 Plaintiff’s state law claim arising under the Rosenthal Act.

                          19 D.      ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
                          20         SATISFIED.
                          21         7.      Removal of this action is timely. Capital One first received notice of this
                          22 action when it received a copy of the Summons and Complaint on December 11,

                          23 2014. Therefore, this Notice of Removal is “filed within thirty [30] days after receipt

                          24 by the defendant . . . of a copy of [Plaintiff’s Summons and Complaint]” in

                          25 accordance with the time period mandated by 28 U.S.C. §1446(b).

                          26         8.      Capital One is the only named defendant in the action and, therefore, no
                          27 consent of additional parties is required.

                          28         9.      Venue lies in the United States District Court for the Central District of
                                                                               2
                                  NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                     DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 and 28 U.S.C. § 1367(a)
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                           1 California pursuant to 28 U.S.C. §1441(a) because the Action was filed in this

                           2 District.

                           3        10.     As stated above, pursuant to 28 U.S.C. § 1446(a), a true and correct copy
                           4 of all process, pleadings and orders received by Capital One from Plaintiff in the

                           5 Action are attached hereto as Exhibit A.

                           6        11.     Written notice of the filing of this Notice of Removal will be promptly
                           7 served upon Plaintiff. Capital One will also promptly file a copy of this Notice with

                           8 the Clerk of the Superior Court of California, County of Riverside.

                           9

                          10        WHEREFORE Capital One prays that the above Action now pending against
                          11 it in the Superior Court of the State of California, County of Riverside, be removed

                          12 therefrom to this Court.

                          13
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                          14 DATED: January 8, 2015                       DOLL AMIR & ELEY LLP
                          15

                          16                                              By: /s/ Chelsea L. Diaz  .
                          17                                                  CHELSEA L. DIAZ
                                                                          Attorneys for Defendant,
                          18                                              CAPITAL ONE BANK (USA), N.A.
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                                 NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                    DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 and 28 U.S.C. § 1367(a)
